 

 

Case 3:12-cv-01570-CSH Document 1-1 Filed 11/06/12 Page 1 of 11

SUMMONS - CIVIL ( O Ps Myf OF CONNECTICUT -

ce 3. 3 51-906, §1-947 §1-349, 51-350, 52-458 UPERIOR COURT See page 2 for instructions

52-46, 52-259, P.B. Secs. 3-1 through 3-25, 8-1 www.jud.c£.gov

(] “X*if amount, legal interest or property in demand, not including interest.and TO: Any proper officer, BY AUTHORITY OF THE
costs is less than $2,500. STATE OF CONNECTICUT, you are hereby

[x]. “X" if amount, legal interest or-property in demand, not including interest and commanded to make due and legal service-of
costs is $2,500 or more. this Summons and attached Complaint.

(] "x" if claiming other relief in addition to or in lieu of money or damages.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Address of court clerk where writ and other papers shall be filed (Nurnber, street, town and zip code) ] Telephone number of clerk (with | Return Date (Must be a Tuesday)
{C.G.S, §§ 51-346, 51-350} area code) , ,
123 Hoyt Street, Stamford, CT 069 . October 30, 2 012
yt 1’ ’ 06905 { 203 )965 5308 eh —— havent
| Judicial District GA At (Town in which wri is ratumanbia) (C.G.S. §§ 51-346; 51-349) Case type code (See fist on page 2)
Housing Session C] Number: Stamford, CT Major: T90 Minor. MSO
For the Plaintiffis) please enter the appearance of:
Name and address of attorney, law firm or plaintiff if self-represented (Number, streef town and zip code} Juris number (ic be entered by attomey only)
Albert Feinstein, Esq., 1500 Broadway, Suite 1900, New York, NY 10036 432813
Telephone number (with area coda) Signature of Plaintiff (if set-representad)
(212) 224-0224
Number of Plaintifis: 1 Number of Defendants: 1 [-] Form JD-CV-2 attached for additional parties
Parties Name (Last, First, Middie Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
First Name: Evgeniy Ardemasov P-01.
Plaintiff Address: 3 Hekma Road, Greenwich, CT 06831
Additional | Name: P02

Plaintiff <a

 

First (ane: Citibank, National Association » D601]

 

 

 

 

 

 

 

Defendant eee 399 Park Avenue, New York, NY 10022
Additional | Name: Daz
Defendant | “dress: eye
Additional | Name: D-03
Defendant | A¢¢ress:

i Name: AT TEST AR AO T. Datucis D404
Additional | dress: AICH 1 AFIELD COUNTY
Defendant . STATE MARSH ALF

 

 

Notice to Each Defendant

1. YOU-ARE BEING SUED. This paper is a Summons in a fawsuit, The complaint attached to thase papers states the claims that each plaintiff Is making
against you in this lawsuit.

2. To be notified of further.proceedings, you or your attomey must fila a form called an “Appearance” with the clerk of the above-named Court at the above

* Gourt address on or before the second-day after the above Return Date. The Return Date Is not a hearing date. You do not have to came to court on the
Return Date unless you receive a separate notice telling you to come to court.

3. If you or your.attomey do not file a written “Appearance” form on time, a judgment may be entered against you by default. The "Appearance" form may be
obtained at the Court address above or at www.jud.ci.gov under “Gourt Forms."

4, If.you believe that you have insurance that may cover the claim that is being made agalnst you in this lawsuit, you should immediately contac! your
insurance representative. Other action you may have to take is described in the Connecticut Practice Book which may be found in a.superior court law
library or gnine at wwwjud.ctgov under “Court Rules.”

 

 

 

 

 

 

  

¥ ‘proper box) Commissioner of the |] Name of Person Signing at Left Date signed
fi
ee Albert Feinstein, Esq 40/03/2012
hort Ts signed by a Clerk: For Caurt Use Only
a. The sit ing has beepdone so that the Plaintiff(s) will not be denied access to the courts. File Date
b. It is the peitiiity of the Plaintiff(s) to-see that service is made in the manner provided by law. ,

c. The Clerk is not permitied to give any legat advice in connection with any lawsult.
d. The Clerk signing this Summons at the request of the Piaintiff(s} is not responsible in any way for any errors or omissions
in the Summans, any allegation bentained in the Complaint, or the service of the Summons or Complaint.

| certify | have read and a ae Plaintiff Dale

 

understand. the above: .
Nama and address of person ri 12 a i amount of $250
Albert Feinstein, Esg . oe

 

 

 

 

Signed (Official taking recognizance, “X" proper box] x| Commissioner of the | Date Docket Number
re Supertor Court
Assistant Clark 10/03/2012

 

 

 

(Page 1 of 2)

 

 
 

 

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CONNECTICUT SUPERIOR COURT
FAIRFIELD JUDICIAL DISTRICT
RETURN DATE: OCTOBER 30, 2012

EVGENTY ARDEMASOV
Index No.

Plaintiff,
VERIFIED COMPLAINT

— against —

CITIBANK, N.A.

Defendants.
aaeneees - x

 

 

Plaintiff Evgeniy Ardemasov ("PLAINTIFF OR “ARDEMASOV), through its
attorney, Law Offices of Albert Feinstein, as for the Complaint against Citibank, N.A.
(“DEFENDANT” OR “CITT” alleges as follows:

URISDICTION & VENUE

1. Jurisdiction is proper because substantial part of the acts or omissions giving rise to

the claims herein occurred in Connecticut.

2. Venue is proper in this Court because Plaintiff resides at 3 Hekma Road,
Greenwich, CT and the causes of actions which are alleged in this Complaint arose

in Connecticut.

FACTUAL ALLEGATIONS

3, This action is to recover for damages which resulted from Citi’s negligence, tortious
interference with a business relationship, negligent interference with contract,
violation of Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110, and
fraudulent concealment. While knowing that it was not intending or capable of

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PRICHARD T. DeLUCIA
STATE MARSHAL, FAIRFIE

 
 

 

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providing financing to Plaintiff, Citi engaged into an unprofessional and blatantly
unauthorized conduct when it instructed Greenwich Bank (“Greenwich”) to cancel
Plaintiff's revolving construction line of credit and to suspend the processing of

Plaintiff's application for a permanent financing.

Greenwich provided a revolving construction line of credit to Plaintiff for the
construction and improvement of Plaintiff's house which is located at 3 Hekma

Road, Greenwich, CT (“Property”).

Upon finishing the construction of the Property, Greenwich agreed to provide a

permanent financing for $5.5 million at 4.00% annual rate.

In or around December of 2011, Plaintiff obtained a certificate of occupancy for the

property.

In or around January of 2012, Plaintiff applied for a permanent financing with

Greenwich.

Around the same time, Citi approached Plaintiff representing that it can provide a
permanent financing for the Property faster and on better terms compared to those

offered by Greenwich.

By the end of February of 2012, Plaintiff submitted all required documents under

the loan application to Citi.

Notwithstanding the above, Plaintiff requested Greenwich to keep his revolving
equity line of credit open and to continue processing his application for a permanent

financing in case Citi rejects his loan application.

In or about April, Greenwich advised Plaintiff that it finalized processing Plaintiff's
loan application and that soon it would be submitting the application for the board’s

approval.

 
 

 

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Citi claims that in a letter dated April 3, 2011, Citi advised Plaintiff that it could not
process Plaintiff's loan application because Plaintiff did not submit certain
documentation. In the same letter, Citi advised Plaintiff that it would terminate the
processing of the Plaintiff's loan unless Plaintiff provided documents within 10

days of the letter.

Plaintiff never knew about this Citi’s letter because Citi sent the letter to Plaintiffs

previous address.

‘Yet on April 6, unbeknownst to Plaintiff, Citi contacted Greenwich, and instructed
Greenwich to freeze Plaintiff's revolving construction line of credit with Greenwich
and advised Greenwich that Citi would pay off Plaintiff's revolving line of credit

with Greenwich on or before June 1.

In accordance with Citi's instructions, Greenwich did freeze the Plaintiff's
revolving construction line of credit. In addition, Greenwich cancelled Plaintiff's

already finalized application with Greenwich for permanent financing.

Plaintiff found out about Citi’s instructions to Greenwich in May when Greenwich
notified Plaintiff that it would be terminating Plaintiff's revolving construction line
of credit and that Plaintiff's application for permanent financing was rejected
because of Citi’s instructions and representations that it was going to close on

Plaintiff's loan on or before June 1.

Citi later admitted that it was never willing or able to provide the financing to

Plaintiff.

As the result of Citi’s willful, improper and unauthorized conduct, Greenwich
closed Plaintiff's revolving line of credit and Plaintiff's application for permanent

financing was rejected.

As the further result of Citi’s actions, Plaintiff suffered substantial direct and

consequential material loss.

 
 

 

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FIRST
CAUSE OF ACTION
(NEGLIGENCE)
Plaintiff repeats, realleges, and incorporates herein by reference, all preceding and

succeeding paragraphs as if set forth in their entirety herein.

At all relevant times alleged in this complaint, Citi owed a duty to Plaintiff not to

act unreasonably.

Citi breached this duty when, on April 6, 2012, without Plaintiff's authorization and
knowledge it requested Greenwich to close down Plaintiff's revolving construction
line of credit and to stop processing Plaintiff's application for a permanent
financing because, according to Citi, it was supposed to close on Plaintiff's loan on

or before June 1".

At the time the request was made Citi was not intending or capable to close on or

before June 1.

According to Citi’s own admissions, as of April 3, it lacked documents absence of

which did not allow for a further consideration of Plaintiff's loan application.
Moreover, on June 6", Citi admitted that Plaintiff's loan was still underwriting.

Plaintiff did not submit any documents to City between April 3 and April 6, the
review of which would empower Citi to demand a cancellation of Plaintiff's credit

line issued by Greenwich.
The actions described above are clearly unreasonable.

Citi acted negligent in processing Plaintiff's loan application and giving

unauthorized instructions to third-parties.
 

 

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29. As a direct and proximate result of Citi’s actions, Plaintiff's equity line of credit
was closed and his application for a credit line renewal with Greenwich was

rejected,

30. Citi’s conduct resulted in (a) actual damages to Plaintiff in an amount to be
determined at trial, but not less than $500,000; (b) cost and disbursements; and (d)

attorney’s fees.

SECOND
CAUSE OF ACTION
(INTENTIONAL INTERFERENCE WITH BUSINESS
RELATIONS)

31. Plaintiff repeats, realleges, and incorporates herein by reference, all preceding and

succeeding paragraphs as if set forth in their entirety herein.

32. At all relevant times alleged in this complaint, Citi was aware that Plaintiff had an
open revolving construction line of credit with Greenwich which Greenwich was in

the process of refinancing.

33. Despite this knowledge and without Plaintiff's authorization, Citi interfered with
Plaintiff's business relations with Greenwich by instructing Greenwich, on April 6,
to issue a pay-off statement and to freeze the line of credit because, according to

Citi, it was intending to close on Plaintiff’s mortgage on or before June 1 of 2012.

34. Although Citi knew that as of April 6 the closing date for Plaintiff's mortgage with
Citi was not in sight, it nonetheless requested Greenwich to close down Plaintiff's

revolving construction line of credit.

35. In fact, on April 3, Citi admitted that Ardemesov did not submit enough documents
to Citi for it to proceed with his loan application and that if Plaintiff fails to submit

those documents in the next couple of days, his loan application would be rejected.

 
 

 

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36. Upon information and believe, Citi intentionally issued instructions to Greenwich to

take over Plaintiff's business.

37. As a result of Citi’s actions, Greenwich closed Plaintiff's credit line and rejected

Plaintiff's loan application.

38. Citi is liable to Plaintiff for (a) actual damages in an amount to be determined at
trial, but not less than $500,000; (b) punitive damages determined at trial, but not
less than $1,000,000; (c) costs and disbursements; and (d) attorneys’ fees.

THIRD
CAUSE OF ACTION
(NEGLIGENT INTERFERENCE WITH CONTRACT)
39. Plaintiff repeats, realleges, and incorporates herein by reference, all preceding and

succeeding paragraphs as if set forth in their entirety herein.

40. Citi owed a duty of care to refrain from interfering with Plaintiff's contractual

relations with Greenwich.

4]. In engaging in the wrongful conduct described herein, Citi negligently failed to take
ordinary precautions to avoid interfering with Plaintiff's contractual relations with

Greenwich and to avoid causing injury to Plaintiff as the result.
42. As a proximate result of Citi’s actions, Plaintiff has suffered injuries and damages.

43, Citi is liable to Plaintiff for (a) actual damages in an amount to be determined at
trial, but not less than $500,000; (b) punitive damages determined at trial, but not

less than $1,000,000; (c) costs and disbursements; and (d) attorneys’ fees.
 

 

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FOURTH
CAUSE OF ACTION
(VIOLATION OF CONNECTICUT UNFAIR TRADE
PRACTICE ACT)
44. Plaintiff repeats, realleges, and incorporates herein by reference, all preceding and

succeeding paragraphs as if set forth in their entirety herein.

45. The aforementioned acts and omissions represent unfair business practices

prohibited by General Statutes § 42-110a, et seq.
46. The aforementioned acts and conduct of Citi have been intentional and knowing.

47. Plaintiff has been injured by Citi’s deceptive acts for which there is no adequate

remedy at law.

' 48. Citi is liable to Plaintiff for (a) actual damages in an amount to be determined at
trial, but not less than $500,000; (b) punitive damages determined at trial, but not
less than $1,000,000; (c) costs and disbursements; and (d) attorneys’ fees.

FIFTH CAUSE
CAUSE OF ACTION
(FRAUDULENT CONCEALMENT)

49, Plaintiff repeats, realleges, and incorporates herein by reference, all preceding and

succeeding paragraphs as if set forth in their entirety herein.

50. Citi was under an obligation to notify Plaintiff that it contacted Greenwich and
requested to close down Plaintiff's revolving line of credit and to stop processing a

permanent financing application.

51. Citi knowing that its actions were material and detrimental to Plaintiff, hid and
concealed the fact that it contacted Greenwich and such concealment was done

fraudulently.

 

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52, Had Citi disclosed the actions which it undertook in respect to Plaintiff's revolving
construction line of credit with Greenwich and the refinancing application which
Plaintiff submitted with Greenwich, Plaintiff would have instructed Greenwich not

to follow Citi’s requests.

53. Plaintiff was damaged as a result of such fraudulent concealment.

54. Citi is liable to Plaint:ff for (a) actual damages in an amount to be determined at
trial, but not less than $500,000; (b) punitive damages determined at trial, but not

less than $1,000,000; (c) costs and disbursements; and (d) attorneys’ fees.

CLAIM FOR RELIEF

WHEREFORE, Plaintiff demands judgment in its favor and against Defendant, as follows:

i. On the First Cause of Action, in the amount to be determined at trial,
but in no event less than $500,000.00, plus statutory interest from the date due, until
paid in full;

i. On the Second Cause of Action, in the amount to be determined at
trial, but in no event less than $500,000.00, plus statutory interest from the date due,
until paid in full;

ili. On the Third Cause of Action, in the amount to be determined at trial,
but in no event less than $500,000.00, plus statutory interest from the date due, until

paid in full;
 

 

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iv, On the Fourth Cause of Action, in the amount to be determined at trial,
but in no event less than $500,000.00, plus statutory interest from the date due, until
paid in full; |

Vv. On the Fifth Cause of Action, in the amount to be determined at trial,
but in no event less than $500,000.00, plus statutory interest from the date due, until
paid in full;

Vi. For Common Law punitive damages for Defendants’ continuous

egregious conduct in the amount to be determined at trial, but in no event less than

$1,000,000.

Vii. On all causes of action, Plaintiff’s legal fees, costs and disbursements
of this action;

viil. Such other and further relief as this Court shall deem just and proper.

Plaintiff Evgeniy Ardemasov

Dated: October 3, 2012
New York, New York

 

  

00 Broadway, Suite 1900

New York, New York 10036

Tel: (212) 224-0224

Fax: (212) 202-4069

Email: albert @ albertfeinstein.com
Juris No.: 432813

    

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ATTEST- fA UGIA ,
HAL, FAIRFIELD COUN

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STATE MARS

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CONNECTICUT SUPERIOR COURT
FAIRFIELD JUDICIAL DISTRICT

 

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EVGENTY ARDEMASOV Index No.
PLAINTIFF,
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CITIBANK, N.A.
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LAW OFFICES OF ALBERT FEINSTEIN
ALBERT FEINSTEIN
ATTORNEY FOR PLAINTIFF _
1500 BROADWAY
NEw YorkK, NEw YORK 10086
TEL: (212) 224-0224

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